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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

   WILLIE STANLEY, et al.,

                 Plaintiffs,                                  CASE NO.: 1:25-cv-21113-JAL

   v.

   LOOMIS ARMORED US, LLC,

               Defendant.
   _____________________________/

        [PROPOSED] ORDER EXTENDING MEDIATOR SELECTION DEADLINE

         THIS CAUSE comes before the Court upon the parties’ Joint Motion for Extension of

  Mediator Selection Deadline (ECF No. ____). The Court, having considered the Motion and

  pertinent portions of the record and being otherwise fully advised, it is hereby ORDERED AND

  ADJUDGED that the Joint Motion for Extension of the Mediator Selection Deadline is

  GRANTED.

         DONE AND ORDERED in Chambers in Miami, Florida, this _____ day of

  ______________, 2025.

                                                   ___________________________________
                                                   JOAN A. LENARD
                                                   UNITED STATES DISTRICT JUDGE

  Copies furnished to:
  All Counsel of Record
